    Case 2:10-md-02179-CJB-DPC Document 2678-1 Filed 06/07/11 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


In re: Oil Spill by the Oil Rig               *         MDL No. 2179
“Deepwater Horizon” in the Gulf               *
of Mexico, on April 20, 2010                  *         SECTION “J”
                                              *         JUDGE BARBIER
This Document Relates to:                     *
11-274 and 11-275                             *         MAGISTRATE NO. 1
                                              *         MAGISTRATE SHUSHAN
                                              *
                                              *
*   *    *   *    *   *   *   *    *   *    * *



                                            ORDER

        Considering the Motion of Defendants Anadarko Petroleum Corporation and Anadarko

E&P Company to Join in and Adopt the BP Parties’ Motion to Dismiss Transocean’s Complaint

in Intervention, the Court finds that the Motion to Join and Adopt has merit, and is supported by

law, therefore:


        IT IS HEREBY ORDERED that the Motion to Join and Adopt is Granted.

        New Orleans, Louisiana, this ______ day of ______, 2011.



                                             ___________________________________
                                             UNITED STATES DISTRICT JUDGE
